Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 1 of KS
                                                                              7


                                                                                      May 20, 2021
                           UN ITED STA TES DISTRIC T CO UR T
                           SO U TH ER N DISTRIC T O F FLO R ID A
                    21-60149-CR-MARRA/VALLE
                      CA SE N O .
                                       18U.S.C.j371
                                       18U.S.C.j641
                                       18U.S.C.j1028A(a)(1)
                                       18U.S.C.j981(a)(1)(C)
                                       18U.S.C.j982(a)(2)(B)

 U N ITED STAT ES O F AM ER IC A

 V.

 JE SU S FELIPE LIN ARE S A N DR ADE,

                Defendant.


                                         IND ICTM ENT

        The G rand Jury chargesthat:

                                         CO U N T 1
                     Conspiracy to C om m itTheftofG overnm ent M oney
                                        (18U.S.C.j371)
        From in or around January 2021,through on or about M ay 6, 202 1, in M iam i-Dade

 County,in the Southern D istrictofFlorida,and elsewhere,the defendant,

                           JE SU S FELIPE LIN ARE S AN D R AD E,

 did know ingly and w illfully com bine,conspire,confederate,and agree w ith other persons,both

 known and unknow n to the Grand Jury,to com m itan offense againstthe U nited States,thatis,to

 know ingly receive,conceal,and retain,w ith the intentto convertto hisown use and gain,a thing

 of value of the U nited States and of a departm entand agency thereof,the aggregate am ountof

 which exceeded $1,000.00,namely,United States Department of Treasury stimulus checks,
 know ing the checks to have been em bezzled, stolen, purloined,and converted,in violation of
Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 2 of 7




 Title 18,United StatesCode,Section 641.

                     PUR PO SE A N D O BJEC T O F TH E CO N SPIR A CY

        ltwasthepulposeand objectoftheconspiracy forthedefendantalad hisco-conspirators
 to unjustly enrich themselves by obtaining and cashing stolen United States Department of
 Treasury stim ulus checks.

                      M A N NE R A N D M EAN S O F TH E C O N SPIM CY

        The m anner and m eans by w hich the defendant and his co-conspirators sought to

 accomplishthepurposeandobjectoftheconspiracyincluded,amongothers,thefollowing;
               JE SU S FE LIPE LIN AR ES AN D R AD E and co-conspirators obtained U nited

 States Departm ent of Treasury stim ulus checks issued in the nam e of U .S.taxpayers that had

 been stolen from the m ail.

               JE SUS FELIPE LINA R ES AN DR ADE delivered the stim ulus checks and false

 identification docum ents to individuals so thatthe stim ulus checkscould be cashed.

               JESUS FELIPE LIN A RE S AN D R AD E received proceeds in cash from the

 cashing ofthe stim uluschecks.

                                         O V ER T A CTS

        ln furtheranceofthe conspiracy and to achievethepurposeand objectthereof,atleast
 one of the co-conspirators com m itted or caused to be com m itted in the Southern D istrict of

 Florida,and elsewhere,the follow ing overtacts,am ong others:

               O n or aboutApril 15,2021,JESU S FELIPE LIN AR ES A N D R AD E and a co-

 conspirator picked up a package containing approxim ately $249,000 in stolen United States
 D epartm entofTreasury stim uluschecksissued in the nam es of variousUnited States taxpayers.
Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 3 of 7



                 On or about April22,2021,JESU S FELIPE LIN A RES A ND R AD E delivered

 approxim ately $135,000 in stolen United States Ilepa/nnentof Treasury stinaulus checks for
 cashing forthe benefitofhim selfand his co-conspirators.

                 On oraboutApril26,2021,JE SU S FEL IPE LINA R ES A ND R AD E caused an

 em ailto be sent containing approxim ately ten identification docum ents for use in cashing stolen

 United StatesD epartm entofTreasury stim uluschecks.

                 On or about M ay 4, 2021,JE SU S FELIPE LIN A R ES A N DR ADE delivered

 over thirty identitication docum ents and approximately $150,000 in stolen United States
 Depahm ent of Treasury stinAulus checks for cashing for the benefit of him self and his co-

 conspirators.

        A 11in violation ofTitle 18,U nited StatesCode,Section 371.

                                        CO U NT S 2-3
                                  TheftofG overnm entM oney
                                         (18U.S.C.j641)
        On or aboutthe datesenum erated asto each count listed below ,in M iam i-D ade County,

 in the Southern D istrictofFlorida,and elsewhere,the defendant,

                                 JESU S LINA R ES A N DR ADE ,

 did know ingly and w illfully receive,conceal,and retain,w ith the intentto convel'tto his ow n use

 and gain, m oney and a thing of value of the U nited States and of a departm ent and agency

 thereof,the aggregate value ofwhich exceeded $1,000.00,nam ely,United States Departm entof
 Treasuly stim ulus checks payable to other individuals, know ing the checks to have been

 em bezzled,stolen,purloined,and converted,as specified in each countbelow :
Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 4 of 7




  COUNT        M V ROM M ATE                 AM OUNT OF STIM ULUS CHECKS
                    D A TE
                                       U .S.stim ulus checksissued to U .S.taxpayerstotaling
                April22,2021                          approxjmately $135,000
                                       U .S.stim ulus checksissued to U .S.taxpayers totaling
                 M ay 4,2021                          approxjm ately $150,000

        In violation ofTitle 18,U nited StatesCode,Sections641 and 2.

                                         C O UN TS 4-6 -

                                   A ggravated Identity Theft
                                   (18U.S.C.j 1028A(a)(1))
        On oraboutthe dates enum erated as to each countlisted below ,in M iam i-Dade County,

 in the Southern D istrictofFlorida,and elsew here,the defendant,

                            JESU S FEL IPE LINA R ES AN D R ADE

 during and in relation to a felony violation ofTitle 18,U nited States Code,Section 641,thatis,

 theftof governm entm oney,as setforth in Counts 2 through 3,did knowingly transfer,possess,

 and use,w ithout law fulauthority,the m eans of identitication ofanother person,as specified in

 each countbelow :

   C O IJN T     APPR O M M A TE                    M EA N S O F D EN TIFICA TIO N
                      DA TE
      4           A pril26,2021                             N am e of:kl.R.''
      5            M ay 4,2021                              N am e oft(J.H .''
      6            M ay 4,2021                              N am e ofttC.B .''

        InviolationofTitle 18,UnitedStatesCode,Sections1028A(a)(1)and2.
                                        FO RFEITU R E
                                   (18tl-s-c.j981(a)(1)(c))
                The allegationsin Counts 1 through 3 ofthis lndictm entare re-alleged and by this

 reference fully incorporated herein forthe purpose ofalleging forfeiture to the United States of


                                                4
Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 5 of 7



 A m erica of certain property in w hich the defendant,JE SU S FELIPE LINA RE S A ND R ADE ,

 hasan interest.

                  Upon conviction ofany ofthe violations charged in Counts l through 3 ofthis

 Indictment,the defendant,JESUS FELIPE LINARES ANDRADE,shallforfeitto the United

 Statesany property,realorpersonal,which constitutesoris derived from proceedstraceable to

 the violation.

        Al1pursuantto Title 18,United StatesCode,Sections981(a)(1)(C),982(a)(2),and the
 procedures set forth in Title 21, United States Code,Section 853 m ade applicable by Title 28,

 United StatesCode,Section 2461(c)andTitle18,United StatesCode,Section982(b).



                                                    FO      R


        C.                   ' V&z'.
                                   *
 JJA N AN TON IO G ON ZA LEZ
 A CTIN G U N ITED STA TES A TTORN EY


                   M.
 M ICH AEL N .BERG ER
 A SSISTA N T UN ITED STA TES A TTO RN EY




                                                5
  Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 6 of 7
                           UM TED STATESDISTRIG CoURT
                           SOUTHERNDISTRIG OFFLORIDA

 W   TED STATESO FW          W CA                   CA SE NO .

                                                    CERTIFICATE OF TRIAL ATTOR NEY.
 Jesus Felipe LinaresAndrade,                       Superseding CaseInformation:
              Defendant.                    /
  CourtDivision:tselectone)                         Newdefendan4s) I--IYes U1No
  Z MiamiN KeyWest (Z FTL                           Numberofnewdefendants
  N WPB N FTP                                       Totalnumarofcounts
       1.lhavecarefully consîderedtheallegationsoftheindictm ent,thenum berofdefendants,thenum berofproG ble
         witnessesand thelegalcom plexitiesofthelndictm enW nformation attachedhereto.
       2.lam awarethattheinformation supplied onthisstatem entwillberelied uponbytheJudgesofthisCourtin
         settingtheircalendarsand scheduling crim inaltrialsunderthemandateofthe Speedy TrialAct,
         Title28U .S.C.Section 3161.
       3.lnterpreter:(YesorNo) Yes
          Listlanguageand/ordialect Spanish
       4. '
          lhiscase willtake 3 daysforthepartiesto try.
       5.Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
             (Checkonlyone)                          (Checkonlyone)
        I     0to5days                E)
                                       z               Petty                 (Z
        11    6to10days               E1               Minor                 E1
        lll   11to20days              (77              Misdemeanor           (q)
        IV    21to60days              Ir7              Felony                Ed
        V     61daysandover           n
       6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
          Ifyes:Judge                               CaseNo.
          tAt'
             tachcopyofdispositiveorder)
          Hasacomplaintbeenfiledinthismatter? (YesorNo)Yes
          lfyes:M agistrateCase N o. 21-MJ-6299-Strauss
          Related miscellaneousnumbers:
          Defendantts)infederalcustodyasof May6,2021
          Defendantts)ins'tatecustodyasof
          Rule20 from theDistrictof
          Isthisapotentialdeathpenaltyc%e?(YesorNo) No
        7. Doesthisrmqe originatefrom amatterpending in theCentralRegionoftheU.S.Attorney'sOffice priorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
        2. Doesthiscase originatefrom am atterpending intheNorthernRegion oftheU.S.Attorney'sOffice ziorto
          August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthise-qRe originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No

                                                                         *         ,.-
                                                                   v                     x+   * 1.w........-

                                                                  M ichaelN.Berger
                                                                  Assi
                                                                     stantUnited States Attorney
                                                                  Coud ID No.     A5501557
*penaltySheetts)att
                  achd                                                                                         REV 3/19/2l
Case 0:21-cr-60149-KAM Document 6 Entered on FLSD Docket 05/21/2021 Page 7 of 7




                             U NITED STA TES DISTR IC T C O UR T
                             SO U TH ER N DISTRIC T O F FLO R ID A

                                      PEN ALTY SH EET

 D efendant's N am e:JESU S FELIPE LINA R ES A N DR ADE

 C ase N o:

 Count#:1

 Conspiracy to Com m itTheh ofGovernm entM onev orPropertv

 Tjtlç 1s.United StatesCodesSection 371

 *M ax-penalty:Five(5)Years'Imprisonment
 Counts#:2-3

 TheftofG overnm entM onev orPropertv

 Title 18.U nited StatesCode.Section 641

 *M ax.penalty:Ten (10)Years'lmprisonment
 Counts#:4-6

 Accravated Identitv Theft

 Title 18.United StatesCode.Section 1028A(a)(1)

 *M ax.penalty:Two (2)Years'lmprisonmentConsecutivetoAnyOtherSentence




  *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
